6/21/2021 Trademark Electronic Search System (TESS)
United States Patent and Trademark Off

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| Start List At: OR to record: Record 1 out of 4

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TESS)

Word Mark NESTFORIA

Goods and IC 021. US 002 013 023 029 030 033 040 050. G & S: Disposable latex and nitrile gloves for general use.

Services FIRST USE: 20200506. FIRST USE IN COMMERCE: 20200506

Standard

Characters

Claimed

mani Drawing (4) STANDARD CHARACTER MARK

Serial Number 90028166

Filing Date June 30, 2020

Current Basis 1A

Original Filing 4A

Basis

Published for = March 2, 2021

Opposition

Registration 6352202

Number

Registration Date May 18, 2021

Owner (REGISTRANT) SevenShopper, Inc. CORPORATION DELAWARE 2020 Duncan Road Wilmington
DELAWARE 19808

Attorney of :

Record Randy Michels

Prior

Registrations reams

Type of Mark TRADEMARK
Register PRINCIPAL
Live/Dead LIVE

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NESTFORIA

Word Mark NESTFORIA

Goods and __IC 009. US 021 023 026 036 038. G & S: Protective clothing especially made for use in laboratories; Protective

Services industrial face masks; Protective industrial respiratory masks; Thermometers not for medical purposes; Protective
face masks for the prevention of accident or injury; Protective industrial face shields; Respiratory masks for the
prevention of accident or injury. FIRST USE: 20200506. FIRST USE IN COMMERCE: 20200506

Standard

Characters

Claimed

Mark

Drawing (4) STANDARD CHARACTER MARK

Code

Serial

Number 90028162

Filing Date June 30, 2020

Current 4A

Basis

Original

Filing Basis 1A

Published for yarch 2, 2021

Opposition

Registration 6352201

Number

Registration

Date May 18, 2021

Owner (REGISTRANT) SevenShopper, Inc. CORPORATION DELAWARE 2020 Duncan Road Wilmington DELAWARE
19808

Attorney of :

Record Randy Michels

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NESTFORIA

Word Mark

Goods and
Services

Standard
Characters
Claimed

Mark Drawing
Code

Serial Number
Filing Date
Current Basis
Original Filing
Basis

Published for
Opposition

Registration
Number

Registration Date

Owner

Attorney of
Record

Prior
Registrations

Type of Mark
Register
Live/Dead

NESTFORIA

IC 005. US 006 018 044 046 051 052. G & S: Antibacterial alcohol skin sanitizer gel; Hand-sanitizing
preparations. FIRST USE: 20200506. FIRST USE IN COMMERCE: 20200506

(4) STANDARD CHARACTER MARK

90028159
June 30, 2020
1A

1A
March 2, 2021

6352200

May 18, 2021

(REGISTRANT) SevenShopper, Inc. CORPORATION DELAWARE 2020 Duncan Road Wilmington
DELAWARE 19808

Randy Michels

5922802

TRADEMARK
PRINCIPAL
LIVE

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Word Mark NESTFORIA
Goods and IC 021. US 002 013 023 029 030 033 040 050. G & S: Gloves for household purposes; Kitchen containers.
Services FIRST USE: 20190830. FIRST USE IN COMMERCE: 20190830
Standard
Characters
Claimed
nee Drawing (4) STANDARD CHARACTER MARK
Serial Number 88346936
Filing Date March 19, 2019
Current Basis 1A
Original Filing
: 1B
Basis
Published for
Opposition July 9, 2019
Registration 5922802
Number
Registration Date November 26, 2019
Owner (REGISTRANT) SevenShopper, Inc. CORPORATION DELAWARE 3616 Kirkwood Highway, Ste A
Wilmington DELAWARE 19808
Attorney of :
Record Randy Michels
Type of Mark TRADEMARK
Register PRINCIPAL
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